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 7

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10                                   UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                               SAN JOSE DIVISION
13

14   YELP INC.,                                       )   Case No. 5:24-cv-06101-SVK
15                                                    )
                                  Plaintiff,          )   [PROPOSED] STIPULATED ORDER
16                                                    )   REGARDING CASE DEADLINES
                             v.                       )
17                                                    )   Judge: Hon. Susan van Keulen
     GOOGLE LLC,                                      )
18                                                    )
19                                Defendant.          )
                                                      )
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 1          Pursuant to Civil Local Rule 6-2(a) Plaintiff Yelp Inc. (“Plaintiff”) and Defendant Google LLC

 2   (“Defendant”) through their respective counsel stipulate as follows:

 3          WHEREAS, Plaintiff filed its Complaint on August 28, 2024 (Dkt. 1);

 4          WHEREAS, Defendant filed a motion to dismiss the Complaint on October 28, 2024 (Dkt. 24);

 5          WHEREAS, the Court granted in part and denied in part Defendant’s motion to dismiss on

 6   April 22, 2025 (Dkt. 47);

 7          WHEREAS, Yelp filed its First Amended Complaint on May 14, 2025 (Dkt. 50);

 8          WHEREAS, the current deadline for Defendant to file its answer or any motion to dismiss

 9   concerning the First Amended Complaint is May 28, 2025;

10          WHEREAS, Defendant seeks an extension of such deadline, until June 11, 2025, in order to

11   respond to the First Amended Complaint;

12          WHEREAS, in light of the proposed extension of the deadline for Defendant to file any motion

13   concerning the First Amended Complaint, Plaintiff seeks until June 25, 2025, to file its opposition to

14   any motion concerning the First Amended Complaint, should one be filed;

15          WHEREAS, in such case, Defendant seeks until July 2, 2025, to file a reply in support of any

16   motion concerning the First Amended Complaint;

17          WHEREAS, the parties currently seek no other extensions of case deadlines;

18          NOW THEREFORE, pursuant to Local Rule 6-2(a), the parties through their respective

19   counsel hereby stipulate, subject to the Court’s approval, as follows:

20          1. Defendant shall respond to the First Amended Complaint on or before June 11, 2025;

21          2. Plaintiff shall file its opposition to any motion Defendant files concerning the First

22              Amended Complaint on or before June 25, 2025; and

23          3. Defendant shall file its reply in support of any motion concerning the First Amended

24              Complaint on or before July 2, 2025.

25          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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                      [PROPOSED] STIPULATED ORDER REGARDING CASE DEADLINES
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     DATED: May 23, 2025
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 2   By: /s/ Sathya Gosselin                           By: /s/ Benjamin M. Greenblum
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                     [PROPOSED] STIPULATED ORDER REGARDING CASE DEADLINES
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 1                                  [PROPOSED] ORDER
 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3   Date: May 27, 2025
 4                                                      _____________________________
                                                        Hon. Susan van Keulen
 5                                                      United States Magistrate Judge
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                    [PROPOSED] STIPULATED ORDER REGARDING CASE DEADLINES
                                         5:24-cv-06101-SVK
